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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                    8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )                        ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

for extension of time (Filing No. 366), filed on October 22,

2007.   On August 8, 2007, this Court filed a memorandum opinion

(Filing No. 355) and order and judgment (Filing No. 356) denying

defendant’s motion and amended motions for new trial and motions

to vacate, set aside or correct his sentence.

           On October 5, 2007, defendant filed a motion to

reconsider the denial of his § 2255 motion and his motions for

new trial (Filing Nos. 359 and 360).           On October 10, 2007, the

Court entered an order denying his motion to reconsider and

further found that the notice of appeal forwarded by defendant

should be deemed timely filed (Filing No. 361).

           This case is presently on appeal to the United States

Court of Appeals for the Eighth Circuit, and this motion should

be addressed to that Court.         For these reasons, the motion is

moot and will be denied without prejudice.             Accordingly,
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           IT IS ORDERED that defendant’s motion for extension of

time is denied without prejudice as moot.

           DATED this 31st day of October, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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